Case 1:16-cv-00347-JMS-RLP Document 204 Filed 12/19/17 Page 1 of 1              PageID #:
                                   1491



                                     MINUTES



 CASE NUMBER:            1:16-cv-00347 JMS-RLP
 CASE NAME:              Atooi Aloha, LLC by Millicent Andrade and Craig B. Stanley,
                         Its Managing Members, et al. v. Abner Gaurino, et al.


      JUDGE:       J. Michael Seabright         DATE:            12/19/2017


COURT ACTION: EO: On December 18, 2017, Defendant Cristeta Owan filed a
Motion for Summary Judgment, ECF No. 202. Currently already set for hearing on
January 16, 2018 are two other Motions in this case: (1) Defendant APT-332, LLC’s
Motion for Summary Judgment and for Interlocutory Decree of Foreclosure, ECF No.
164; and (2) Defendants Fidelity National Title & Escrow of Hawaii and Rommel
Guzman’s Motion for Summary Judgment, ECF No. 166 (and a Joinder in that Motion by
the Guarino Defendants, ECF No. 191).

To enable the court to hear all these Motions at the same hearing (and still apply Local
Rules 7.2(a) and 7.4), all three Motions are set for hearing on January 22, 2018 at 9:00
a.m. before Judge J. Michael Seabright. That is, the January 16, 2018 hearing is
VACATED, and APT-332, LLC’s and Fidelity/Guzman’s Motions are continued to
January 22, 2018.

Oppositions to all Motions are due on January 2, 2018 (instead of December 29, 2017,
which would otherwise apply under Local Rule 6.1), and corresponding Replies are due
on January 9, 2018.

The court recognizes that the dispositive motions cut-off date has been extended until
December 22, 2017, ECF No. 183. If any additional substantive motions are filed on or
before December 22, 2017, the court may reexamine the procedural posture of this case
and reschedule the January 22, 2018 hearing to accommodate all motions at the same
hearing.



Submitted by: Shelli Mizukami, Courtroom Manager
